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                     UNITED STATES BANKRUPTCY COURT
                      NORTHERN DISTRICT OF GEORGIA
                             ATLANTA DIVISION

 IN RE:                                           : CHAPTER 13
 SELENA MAUREEN BRUMFIELD                         : CASE NUMBER A18-51685-JWC
       DEBTOR                                     :

                     TRUSTEE’S SUPPLEMENTAL REPORT
                    FOLLOWING CONFIRMATION HEARING

        Nancy J. Whaley, Standing Chapter 13 Trustee to report back in ten (10)
        days following the Confirmation Hearing held on April 17, 2018:

        As to whether Debtor provided a copy of the 2015 – 2017 tax returns

        As to whether Debtor filed amended schedules

        As to whether Debtor filed an amended plan

        The Attorney for the Trustee has reviewed the case as instructed and:

        Recommends dismissal because:

        Debtor failed provide a copy of the 2015 – 2017 tax returns

        Debtor failed to file amended schedule E to add real estate tax creditors

        Please enter an Order of Dismissal

        This the 4th day of May, 2018.

                              ___/s/_________________________
                              Julie M. Anania, Attorney for Chapter 13 Trustee
                              GA Bar Number 477064
                              303 Peachtree Center Ave., NE
                              Suite 120
                              Atlanta, GA 30303
 /mam                         (678) 992-1201
  Case 18-51685-jwc        Doc 24   Filed 05/04/18 Entered 05/04/18 14:50:42              Desc
                                          Page 2 of 2
                                 CERTIFICATE OF SERVICE
Case No: A18-51685-JWC

This is to certify that I have this day served the following with a copy of the foregoing Chapter 13
Trustee's Supplemental Report Following Confirmation by depositing in the United States mail a
copy of same in a properly addressed envelope with adequate postage thereon.

Debtor(s):
SELENA MAUREEN BRUMFIELD
4115 PINEMIST LN NW
KENNESAW, GA 30144




By Consent of the parties, the following have received an electronic copy of the foregoing
Chapter 13 Trustee's Supplemental Report Following Confirmation through the Court's
Electronic Case Filing system.

Attorney for the Debtor(s):
THE SEMRAD LAW FIRM, LLC
rjsatlcourtdocs@gmail.com




This the 4th day of May, 2018.


/s/____________________________________
  Julie M. Anania
  Attorney for the Chapter 13 Trustee
  State Bar No. 477064
  303 Peachtree Center Avenue, NE
  Suite 120
  Atlanta, GA 30303
  678-992-1201
